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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC                              )
                                                   )
                        Plaintiff,                 )
                                                   )
vs.                                                )
                                                   )   C.A. No. _________________
DRAFTKINGS, INC.,                                  )
                                                   )   JURY TRIAL DEMANDED
                        Defendant.
                                                   )
                                                   )
                                                   )



                     PLAINTIFF’S RULE 7.1 DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1(a), Plaintiff Interactive Games LLC, by

and through the undersigned attorneys, makes the following disclosure:

         1.       Interactive Games LLC is a wholly-owned subsidiary of CFPH, LLC; and

         2.       No publicly held corporation owns 10% or more of Interactive Games LLC’s

stock.

Dated: June 14, 2019                       McCARTER & ENGLISH, LLP

                                           /s/ Daniel M. Silver
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